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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

CLYDE   BENNETT,             JR.,   WILBUR      §
CHARLES BENNETT,                                §
                                                §
                                                §
               Plaintiffs,                      §
                                                §
v.                                              §
                                                §   CIVIL ACTION NO. 2:19-CV-00404-JRG
STEVEN G. MCCARTER, WALTER E.                   §
PEARCE,                                         §
                                                §
               Defendants.                      §
                                                §

                                          ORDER
       Before the Court is Defendant McCarter’s Motion for Voluntary Dismissal of Original

Cross-Claim for Contribution Against Defendant Walter E. Pearce (the “Motion”). (Dkt. No. 28.)

In the Motion, Defendant Steven G. McCarter (“McCarter”) moves for voluntary dismissal of his

cross-claim against Defendant Walter E. Pearce (“Pearce”). Having considered the Motion, the

Court is of the opinion that it should be and hereby is GRANTED. It is therefore ORDERED

that McCarter’s cross-claim against Pearce is DISMISSED WITHOUT PREJUDICE.

       In light of the foregoing, Defendant Walter E. Pearce’s Rule 12(b)(6) Motion to Dismiss

Defendant Steven G. McCarter’s Cross-Claim and Brief in Support Thereof (the “Motion to

Dismiss”) is hereby DENIED AS MOOT. (Dkt. No. 16.)

      So Ordered this
      Jul 26, 2020
